Case 1:03-cv-09848-GBD-SN Document 715

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE: .
TERRORIST ATTACKS ON

SEPTEMBER 11, 2001

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This document relates to:
All actions

GEORGE B. DANIELS, United States District Judge:

Filed 06/26/24 Page 1 of 1

ORDER
03 MDL 1570 (GBD) (SN)

The July 10, 2024 oral argument on Defendant Dallah Avco Trans Arabia Company’s

motion to dismiss (ECF No. 9362!) and Defendant Kingdom of Saudi Arabia’s motion to dismiss

(ECF No. 9368) is adjourned to July 31, 2024 at 9:45 a.m.

Plaintiffs’ request for a case management conference regarding sealing issues in

anticipation of oral argument (see ECF No. 9901) is referred to Magistrate Judge Netburn.

Dated: June 26, 2024
New York, New York

SO ORDERED.

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GE B. DANIELS

CPR States District Judge

' All ECF citations included herein refer to documents filed on the 9/11 multidistrict litigation docket.
See In re Terrorist Attacks on Sept. 11, 2001, No. 03-md-1570 (GBD) (SN).
